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 1       IN THE UNITED STATES DISTRICT COURT               1    APPEARANCES: (all appearing virtually)
           NORTHERN DISTRICT OF ILLINOIS                   2       Mr. Michael Kurtz
 2             EASTERN DIVISION                                    Kurtz & Angenlicht
 3   SEC,                  )                               3       123 West Madison Street
                       )                                           Suite 700
 4           Plaintiff, )                                  4       Chiago, Illinois 60602
                       )                                           312.265.0106
 5     vs.               )No. 18-cv-5587                   5       mkurtz@kalawchicago.com
                       )                                           on behalf of 1839 Fund I, LLC.
 6   EQUITYBUILD, INC., et al., )                          6
                       )                                   7    Also Present: (all appearing virtually)
 7           Defendants. )                                 8        Ms. Judith Ferrara
 8                                                                  Mr. Robert Jennings
 9          The virtual deposition of MARK YOUNG, taken   9
10   pursuant to subpoena in accordance with the Federal 10
11   Rules of Civil Procedure of the United States       11
12   District Courts pertaining to the taking of         12
13   depositions, taken before PEGGY CURRAN, CSR, CRR, 13
14   RPR, CSR License No. 084-002016, a notary public    14
15   within and for the County of DuPage and State of    15
16   Illinois, taken on Tuesday, October 26, 2021,       16
17   commencing at the hour of 10:10 a.m.                17
18                                                       18
19                                                       19
20                                                       20
21                                                       21
22                                                       22
23                                                       23
24                                                       24
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 1 APPEARANCES: (all appearing virtually)                   1             INDEX
 2      Mr. Benjamin Hanauer
        Ms. Alyssa A. Qualls                                2 WITNESS                      PAGE
 3      U.S. Securities and Exchange                        3 MARK YOUNG
        Commission
 4      175 West Jackson Boulevard                          4 EXAMINATION
        Suite 1450                                             By Mr. Connor                    5
 5      Chicago, Illinois 60604
        312.886.2542                                        5
 6      quallsa@sec.gov                                       EXAMINATION
        hanauerb@sec.gov
 7        on behalf of U.S. Securities &                    6 By Mr. Hanauer                    39
          Exchange Commission;                              7 EXAMINATION
 8
 9      Ms. Jodi Rosen Wine                                    By Ms. Wine                     44
        Rachlis Duff & Peel, LLC.                           8
10      542 South Dearborn
        Suite 900                                             EXAMINATION
11      Chicago, Illinois 60605                             9 By Mr. Stein                   64
        312.275.5108
12        on behalf of Kevin B. Duff, Federal              10 YOUNG EXHIBITS                        FOR ID
          Equity Receiver for the Estate of                11 No. 1                       18
13        EquityBuild, Inc., etc.
14      Mr. Kevin Connor                                   12 No. 2                       20
        Dykema                                             13 No. 3                       25
15      10 South Wacker Drive
        Suite 2300                                         14 No. 4                       28
16      Chicago, Illinois 60606                            15 Nos. 5 and 6                     47
        312.627.8322
17      kconnor@dykema.com                                 16 No. 7                       50
         on behalf of DC57;                                17 No. 8                       52
18
        Mr. Max A. Stein                                   18 No. 9                       55
19      Boodell & Domanskis                                19
        1 North Franklin
20      Suite 1200                                         20
        Chicago, Illinois 60606                            21
21      312.938.4070
        mstein@boodlaw.com                                 22
22        on behalf of cetain investors;                   23
23
24                                                         24
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 1       MR. CONNOR: My name is Kevin Connor. I am            1       THE WITNESS: Okay. Good.
 2   going to be leading this deposition this morning.        2       MR. CONNOR: Mr. Young, in case you are
 3   We also have attorneys from several other parties        3   unaware, I represent DC57, another claimant in this
 4   here, some of whom you may have spoken with.             4   case.
 5            Court Reporter, will you swear in the           5       MS. QUALLS: Mr. Young, this is Alyssa Qualls.
 6   witness, please.                                         6   I am with Ben with the SEC.
 7                 (Witness virtually duly sworn.)            7       THE WITNESS: Thank you.
 8                   MARK YOUNG,                              8       By Mr. Connor:
 9   called as a witness herein, having been first            9       Q Mr. Young, you mentioned you have been
10   virtually duly sworn, was examined and testified as     10   deposed before. Can you tell me generally what
11   follows:                                                11   that case was about?
12                 EXAMINATION                               12       A It was an investment case in regard to
13       By Mr. Connor:                                      13   my employer. My employer was -- had invested in a
14       Q Mr. Young, some preliminary questions.            14   hedge fund and so it was in that case. That was
15   Have you ever been deposed before?                      15   many years ago.
16       A Yes, I have.                                      16       Q Okay.
17       Q You are generally familiar with this              17       A Probably 2005 maybe.
18   process?                                                18       Q Okay. You said your employer had
19       A Yes, generally familiar.                          19   invested. What role did you play in that case?
20       MR. HANAUER: I apologize. Mr. Young, this is        20       A I am an accountant. I am an accountant
21   Ben Hanauer from the SEC. Could I ask you to speak      21   for my employer.
22   up, please, sir? I can barely hear you.                 22       Q Got it. All right.
23       THE WITNESS: I may need to adjust my audio.         23           Since it's been awhile, I would like to
24   I will try to speak up. Please remind me if I'm         24   just run through some basic ground rules and
                                                    Page 6                                                        Page 8
 1   not speaking loud enough. My voice doesn't carry         1   background so we can do this as efficiently as
 2   very well.                                               2   possible.
 3      MR. HANAUER: I can barely hear you, sir. I            3           The first and most important thing, as
 4   don't know if others are having the same issue.          4   you can see we do have a court reporter here today.
 5           (A discussion was had off the record.)           5   She is going to be taking down everything that we
 6      THE WITNESS: Is it permissible to take just a         6   say. We would like to keep a clean record. So to
 7   few minutes?                                             7   that end, there may be questions that I ask where
 8           Ben, you say you are with the SEC?               8   you feel like you know where I am going. The human
 9      MR. STEIN: Yes, sir, I am.                            9   tendency is to start answering as soon as you feel
10      THE WITNESS: How about the rest of the               10   confident that you know what the question is. We
11   parties?                                                11   don't want to be talking over each other, so please
12      MR. STEIN: Good morning, Mr. Young. My name          12   make sure that I finish my question before you
13   is Max Stein. I am an attorney at Boodell &             13   begin your answer.
14   Domanskis in Chicago. I represent a group of            14      A Okay.
15   investors who like yourself were lenders on these       15      Q Second, again because the court reporter
16   properties.                                             16   needs to take a clean record, please resist the
17      THE WITNESS: Okay.                                   17   impulse to answer by nodding or just saying uh-huh.
18      MR. WINE: Mr. Young, my name is Jodie Wine.          18   Clear verbal answers will give us the best record.
19   I am with Rachlis Duff & Peel and I represent Kevin     19   So yes, no is the best way to do that.
20   Duff, the receiver in this action.                      20           If you need to take a break at any
21      THE WITNESS: Okay.                                   21   point, I am happy to give you one. I'd only ask
22      MR. KURTZ: My name is Michael Kurtz. I               22   that you answer whatever question is pending. And
23   represent 1839 Fund I, LLC, which is another            23   then if you need to take a water break or whatever
24   investor lender similar to Mr. Stein's clients.         24   you need, we are happy to accommodate you.
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 1       A Okay.                                        1        emails?
 2       Q Do you have any initial questions before     2             A You know, they were promotional emails,
 3   we begin?                                          3        a way to provide an investment, where they had
 4       A No.                                          4        700 transactions, and never had foreclosure, and
 5       Q Okay. I know you mentioned you are an        5        everybody has always got their principal back. It
 6   accountant. Can you give me a little bit of your   6        was 100 percent senior secured loans.
 7   educational background, where you went to college. 7                 So I made an investment and got paid all
 8   Or excuse me, did you go to college?               8        my interest; got my capital back. So it worked
 9       A Yes, I did. I went to Emporia State          9        just like it was supposed to.
10   University, in Emporia Kansas. I have a bachelor 10                  So I did that again, and you know, did
11   of science in business, with a major. I'm an      11        several transactions. They went full term just
12   accounting major.                                 12        like they were supposed to.
13       Q Got it. In what year did you                13                 So that's how I got started with them.
14   graduate?                                         14             Q Great. I would like to back up just a
15       A In December of 1979.                        15        moment and ask you a little more about that
16       Q How long have you worked as an              16        information.
17   accountant or do you still work?                  17                 So it sounds like you answered the
18       A I still work as an accountant.              18        initial unsolicited email and then made an initial
19       Q Has that been your profession since you 19            investment with Mr. Cohen separate from the
20   graduated from college?                           20        investment that's at issue in this case; is that
21       A Yes. I left the profession from maybe       21        correct?
22   June of '87 to June of 2002. I worked for an      22             A That's correct.
23   insurance company, a securities benefit life      23             Q When was that first investment?
24   insurance company.                                24             A You know, probably in, I'm thinking
                                                  Page 10                                                     Page 12
 1       Q Okay.                                             1   maybe the middle of 2014.
 2       A But I maintained my license during that           2        Q Okay. Do you remember what property
 3   period and returned to the accounting profession.       3   that related to?
 4       Q Got it. And for what company do you               4        A I do not offhand. I would have to, I
 5   work as an accountant now?                              5   would have to, I would have to go back and look at
 6       A A company called Mcmorin. It's                    6   my records. I don't remember. I mean, we've got a
 7   M-c-m-o-r-i-n, Inc.                                     7   number of -- we made a number of loans to them,
 8       Q Thank you. What kind of accounting do             8   unfortunately. And I know that -- I don't
 9   you do?                                                 9   remember, I don't remember which address it was.
10       A A private company. I am sorry, it's a            10   If it's important, I can look it up.
11   private company.                                       11        Q All right. Was it in Chicago?
12       Q Can you tell me a little bit about what          12        A Yes.
13   type of accounting you do?                             13             There was also one in Puerto Rico at one
14       A I do tax planning, tax compliance,               14   point. It's one where I made the loan; I got my
15   income and estate tax planning and compliance. And     15   capital back.
16   general record keeping for the company's               16        Q Got it. So we have first investment in
17   portfolio.                                             17   2014, another in Puerto Rico.
18       Q Okay. Great. Thank you.                          18             Do you remember when you made that
19           I would like to talk to you now about          19   investment?
20   your experience with EquityBuild. Can you tell me      20        A It would have been around the same
21   how you first got involved with this loan?             21   time.
22       A First it was unsolicited emails from             22        Q Okay. You said you got all your capital
23   Shaun Cohen.                                           23   back and the interest; is that correct?
24       Q Do you recall the basis of those                 24        A Yes.
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 1        Q Okay. So that's two loans. Were there              1   borrower was EquityBuild, Inc. The servicer was
 2   any others?                                               2   EquityBuild Finance.
 3        A You know, I don't recall. I think there            3           So yes, they were all similar --
 4   were others that went full cycle. I don't recall.         4      Q Got it.
 5   I will be glad to look. I wasn't prepared to              5      A -- in structure.
 6   answer those questions. I thought this was in             6      Q So when Shaun Cohen first contacted you
 7   regards to this one loan. So I am prepared to             7   about this loan -- well, I will back up.
 8   answer those questions regarding this one loan.           8           He initially contacted you about the
 9        Q That's quite all right. This is                    9   loan in 2014; you invested; then there was the
10   principally about the one loan. It's always good         10   Puerto Rico one.
11   to have background.                                      11           How did you come to learn about this
12            Of course, I don't need you to guess.           12   loan, the loan at issue in this case?
13   If there is something that you don't know as we sit      13      MR. HANAUER: Objection; counsel. Maybe just
14   here, that's perfectly fine.                             14   state for the record what loan is at issue in this
15            Did you invest alongside anyone else            15   case just so we have a clean record on this.
16   that you knew?                                           16      MR. CONNOR: That's fair. I will pull it up.
17        A No. No one else that I knew until we              17          This is the loan regarding 3074
18   made the loans from my father.                           18   Cheltenham Place in Chicago.
19        Q Okay. Did you consult with anyone                 19      MR. HANAUER: Thank you.
20   before you made these loans?                             20      MR. CONNOR: Thank you for pointing that out,
21        A No.                                               21   Ben, I appreciate it.
22        Q Or this loan?                                     22      By Mr. Connor:
23        A Well, I did, in terms of consulting, I            23      Q So the loan relating to Cheltenham, how
24   did get references from other lenders, and I spoke       24   did you first learn about that?
                                                    Page 14                                                      Page 16
 1   to other lenders to EquityBuild, but I don't know         1       A The EquityBuild as time went on employed
 2   if that constitutes consulting or not.                    2   other customer service representatives,
 3        Q Sure. These were other lenders in this             3   salespeople, whatever you want to refer to them as.
 4   property or in this investment or other lenders?          4   I think it was David Geldart, G-e-l-d-a-r-t, was my
 5        A Not in this particular property. They              5   contact at that time. I think it was an email from
 6   were just other lenders in other properties.              6   him.
 7        Q Got it. I see. Because that would have             7       Q So he sends you the email about
 8   been in connection to the first loan?                     8   Cheltenham, you are interested, then how do you get
 9        A Yes.                                               9   involved with the loan, do you just respond yes, do
10        Q Okay. That makes sense. Were the other            10   they request any kind of documentation from you?
11   loans of the same basic character, where there was       11       A At this point they did not request other
12   a property and you lent them the money and there         12   documentation from me. It was an opportunity that
13   was a mortgage and note?                                 13   came up at the time. We were looking for ways to
14        A Yes.                                              14   generate some additional cash flow. So we made the
15        Q Okay. Would you say they were                     15   investment in this particular property -- made the
16   generally -- I want to ask this question in a way        16   loan on this particular property.
17   that you can answer.                                     17       Q Okay. And can you give me a basic
18            Was the loan at issue in this case of           18   understanding of the terms of your investment as
19   the same general character as the ones that came         19   you understand them, how much you invested, when
20   before?                                                  20   you expected to be paid, that kind of thing?
21        A Yes. They were, you know, multiple                21       A We invested $45,000. The maturity date
22   lenders, senior secured. You know, they had the          22   on the loan was January 1 of 2018. We invested
23   agreement with EquityBuild Finance as the servicer,      23   $45,000 in October of 2016, at the end of October.
24   but EquityBuild was owner of the property. The           24   So it was originally structured as a two-year loan.
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 1   And we were already four, five months into it. So     1   EquityBuild Young Note?
 2   my expectation was to have my capital returned in     2      MR. CONNOR: Yes.
 3   January of 2018. It was I think at 18 percent         3      MR. HANAUER: Thank you.
 4   interest. So we were to receive $675 a month until    4      THE WITNESS: I believe that's the note that I
 5   the property was -- until the loan was paid off.      5   sent to you earlier. So yes, that's it.
 6       Q How did you receive those funds?                6      By Mr. Connor:
 7       A By direct deposit into a checking               7      Q That's correct. So when you say this is
 8   account.                                              8   the note that you sent to me earlier, this is the
 9       Q Okay. From what source did you receive          9   note relating to 3074 Cheltenham; is that
10   those funds?                                         10   correct?
11       A EquityBuild Finance.                           11      A That's correct.
12       Q How often was somebody from EquityBuild        12      Q It says at the top right here, the
13   or EquityBuild Finance in contact with you about     13   borrower promises to pay the persons listed on
14   your loan?                                           14   Exhibit A to this note care of EquityBuild Finance.
15       A You know, I had regular contact with           15           Now I know when you said you emailed it
16   David Geldart, again who was kind of my customer     16   the file was too big, so you sent it without the
17   service person during that period. It was pretty     17   exhibit. Is your name one of the ones that shows
18   regular. I would usually get emails from them        18   up on Exhibit A to this document?
19   pretty frequently or phone calls from them pretty    19      A Actually on the exhibit it is not
20   frequently. So I would say at least weekly.          20   because this one, if you see, was made on July 14,
21       Q Okay. Dave Geldart was at EquityBuild          21   2016. I also sent you a document that was purchase
22   or EquityBuild Finance?                              22   memo I believe.
23       A I don't know to be honest. I think his         23      Q Yes.
24   email said EquityBuild. But EquityBuild and          24      A So in this particular case we bought a
                                                Page 18                                                       Page 20
 1   EquityBuild Finance were controlled by the same     1     position from someone who had made the original
 2   people. So I don't know quite frankly what the      2     investment in July. And we made that investment in
 3   distinction was. I don't know what name was on his 3      October of -- we made the loan in October of
 4   W-2 at the end of the year.                         4     2016.
 5      Q Thank you. Give me just a moment now.          5         Q So you purchased the investment to which
 6           Mr. Young, you sent me some documents in 6        this note relates, but your name was not originally
 7   anticipation of this deposition. I would like to    7     on the note; is that correct?
 8   just look over a few of them now. If you will give  8         A Our name is not originally on it. The
 9   me just a moment I will share my screen with you. 9       name that's originally on it is Equity Trust
10               (A document was marked as Young        10     Company, custodian, FBO, Paula, L-e-z-a-n-d, IRA.
11                Deposition Exhibit No. 1 for          11         Q But your understanding is you have seen
12                identification.)                      12     this note before?
13      By Mr. Connor:                                  13         A Yes.
14      Q I am showing you now what we are going 14                Q And your understanding is that these are
15   to mark as Exhibit 1 to this deposition.           15     the terms that bind the loan?
16           Mr. Young, does this look familiar to      16         A Yes.
17   you, this document before you?                     17         Q Okay. Thank you.
18      A Yes. I mean, it's a multiple document         18                 (A document was marked as Young
19   and I see just the first page.                     19                  Deposition Exhibit No. 2 for
20      Q I am happy to scroll down for you.            20                  identification.)
21   Thank you for pointing that out. Let me know if I  21         By Mr. Connor:
22   am scrolling down too fast.                        22         Q I am going to show you another document
23      MR. HANAUER: Counsel, is this the document 23          now. This is one of the documents that you also
24   you sent over? There was a pdf that was called     24     sent me yesterday. We are going to mark this as
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 1   Exhibit 2.                                             1       MR. CONNOR: This -- I am sorry. Go ahead.
 2           I will scroll through it again so you          2           These should be the same.
 3   can see the whole thing.                               3       By Mr. Connor:
 4       MR. HANAUER: I am sorry, Kevin. Can you let        4       Q Mr. Young, it says the security interest
 5   us know what the name of the pdf is?                   5   is given to the persons listed on Exhibit A to the
 6       MR. CONNOR: Sure. I apologize. This one is         6   mortgage. Then if we scroll down, there should be
 7   DYoung mortgage.                                       7   Exhibit A I believe. There it is.
 8       MR. HANAUER: Did you send that over?               8       A Go down five lines.
 9       MR. CONNOR: Yes. That's one of the ones that       9       Q I think I see, right there.
10   I sent you this morning. Maybe it was one of the      10           Paula Lezand?
11   ones that got caught in the email filter.             11       A That is the interest that my father
12       MR. HANAUER: Give me one second. I am trying      12   acquired.
13   to see if I have it otherwise.                        13       Q So there is another Mark Young about
14          I don't have this one, but you can go          14   five lines above that. Do you have any relation to
15   ahead.                                                15   him?
16       MR. CONNOR: Thank you.                            16       A Unfortunately that person is me.
17       By Mr. Connor:                                    17       Q Okay. Is this a separate interest?
18       Q Mr. Young, does this document look              18       A Yes, it is.
19   familiar to you?                                      19       Q Can you clarify this for me. The Lezand
20       A Yes, it does.                                   20   interest was purchased by your father?
21       Q Can you tell me what this document is?          21       A Yes.
22       A That is the recorded mortgage on the            22       Q And you separately had purchased an
23   property at 3074 Cheltenham Place. It has the         23   interest yourself?
24   secured interest, first lien mortgage for benefit     24       A I made a loan, yes. I made a loan of
                                                 Page 22                                                       Page 24
 1   of my father.                                      1       $100,000 back in July of 2016 when the loan first
 2       Q Okay. And your father is Duane Young;        2       closed. Subsequent to that, Dave Geldart
 3   is that correct?                                   3       approached me and said there was an investor, this
 4       A He was, yes.                                 4       Paula Lezand, who had an interest that they had an
 5       Q I apologize.                                 5       emergency, or she passed away or something. I
 6           And that -- we won't get ahead of          6       don't remember now what the excuse was. But that
 7   ourselves.                                         7       they were interested in liquidity. And that if we
 8           So this was for the benefit of your        8       made a loan, we could replace their interest.
 9   father, and this also relates to the 3074          9               So me as power of attorney acting for my
10   Cheltenham property, correct?                     10       father's behalf, he acquired the interest from
11       A That's correct.                             11       Paula Lezand, IRA, and I sent -- in part of the
12       MS. WINE: If I can interrupt for one second.  12       documents I sent to you was a memorandum dated
13   I am a little confused. You sent some exhibits    13       October 27, 2016.
14   over for this deposition. This is not one of      14           Q Yes.
15   those?                                            15           A Where my father -- where I as power of
16       MR. CONNOR: This is. I sent this over this    16       attorney for my father purchased that interest.
17   morning at probably 9:15 or thereabouts.          17       And we did that as -- my father at that point was
18       MS. WINE: I just got some sample that was     18       about to go into a nursing home. We did it to
19   last night.                                       19       generate more cash flow to help cover his long-term
20       MR. CONNOR: I sent some sample last night. 20          care expenses.
21       MS. WINE: I got it. These are different than  21               He subsequently passed away and we
22   the ones that were submitted with Mr. Young's     22       transferred that interest to the Young Family
23   standard discovery responses or are they the same 23       Trust.
24   document?                                         24               That's why the Young Family Trust is on
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 1   the documents today. It originally started out         1       MR. HANAUER: Kevin, this is Ben Hanauer. I
 2   Paula Lezand. It was my father acquired it. He         2   would just note that Mr. Young did produce a
 3   passed away, so then it subsequently was               3   collateral servicing agreement for Cheltenham to
 4   transferred to the Young Family Trust.                 4   the claims process email docs.
 5       Q Got it. Understood. Okay. Thank you.             5       MR. CONNOR: Got it.
 6   I will stop my screen share.                           6           Give me just a moment, Mr. Young. Let
 7                (A document was marked as Young           7   me see if I can find your servicing agreement among
 8                 Deposition Exhibit No. 3 for             8   my emails. If so, I will send it around to the
 9                 identification.)                         9   group.
10       By Mr. Connor:                                    10          You are right, Mr. Young, my apologies.
11       Q I am now going to share a third                 11       THE WITNESS: Accepted.
12   document. We will mark this as Exhibit 3. This        12       MR. KURTZ: I think some of the confusion
13   document was titled EBF Sample Servicing Agreement.   13   might be that there are several executed collateral
14   I emailed it to the parties last night.               14   servicing agreements that were produced by
15            Mr. Young, this document was not             15   Mr. Young.
16   included among the documents that you sent over in    16       MR. CONNOR: I am going to send this around so
17   preparation for this deposition. Again I will         17   that everyone can look at what I am looking at if
18   scroll through it.                                    18   my computer will cooperate.
19       A I am sorry, Kevin, you said it was or           19          So the email is on the way. I will give
20   was not?                                              20   it a moment to get through to everybody's inboxes.
21       Q This was not included among the                 21       MR. HANAUER: Kevin, what is the name of the
22   documents you sent over in preparation, at least      22   document you just sent around?
23   the documents you sent to me.                         23       MR. CONNOR: This is EquityBuild, Inc., as
24       A I think it was. I'm sure it was. I can          24   borrower, collateral agency and servicing
                                                 Page 26                                                       Page 28
 1   resend it if need be.                                  1   agreement, underscore, dyoung. I apologize.
 2       Q At any rate, you have seen this document         2       MR. HANAUER: I have not received that yet. I
 3   before then?                                           3   am sorry.
 4       A If you scroll back to the first page.            4       MR. CONNOR: No, we will take a minute.
 5   The document I sent to you was dated October 27,       5   That's fine.
 6   2016, because that's when my father acquired an        6       MR. HANAUER: Where did this one come from?
 7   interest.                                              7       MR. CONNOR: So Mr. Young sent this over in
 8       Q Okay. But other than the date, this is           8   his original. The confusion is that he sent two
 9   the same document?                                     9   sets of emails because in the first set some of
10           I am happy to scroll through if you           10   them didn't come through. And then he generously
11   would prefer.                                         11   resent them. But this one came through the first
12       A If you would stop there. No, the                12   time, so it wasn't included among the second set of
13   document I have is dated June 29, 2016.               13   emails.
14       Q When you say it's dated, that's up at           14       MR. HANAUER: I apologize. I haven't received
15   the top where it says this agreement is made as of    15   it yet.
16   blank date?                                           16       MR. CONNOR: That's quite all right.
17       A Mine says, this agreement is made as of         17       MR. HANAUER: Go ahead.
18   October 27, 2016. Because that's when my father       18       THE WITNESS: I originally sent it at
19   acquired the interest from the Lezand or whatever     19   10:00 a.m. Central time on Monday the 25th.
20   their name was. And then under the recitals, it       20               (A document was marked as Young
21   said the certain note was dated June 29, 2016. I      21                Deposition Exhibit No. 4 for
22   don't know that this is regarding 3074                22                identification.)
23   Cheltenham.                                           23       By Mr. Connor:
24       Q That's fine.                                    24       Q Mr. Young, apologies again for the
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                                                   Page 29                                                       Page 31
 1   confusion. So now we are looking at a collateral         1   payments to the individual investors.
 2   servicing and agency agreement dated October 27,         2       Q Okay.
 3   2016.                                                    3       A It was administrative in nature.
 4           Does this document look familiar to              4       Q What do you understand that to mean?
 5   you?                                                     5       A It means they were -- all they did was
 6       A Yes, it does.                                      6   administer the cash flow. They received payments
 7       Q Can you tell me what this document is?             7   from EquityBuild, made payments to individual
 8       A It is a collateral agency and servicing            8   lenders.
 9   agreement with EquityBuild Finance and each of the       9       Q Okay. If you look here, in
10   lenders.                                                10   Paragraph 2-A, where it says, hereby authorizes and
11       Q Can you explain to me a little bit what           11   designates EBF to act as collateral agent, also
12   your understanding of this document is, what it         12   appoint and designate EBF as the loan servicer with
13   does?                                                   13   respect to the loan. EBF hereby accepts such
14       A This document was for EquityBuild                 14   appointments on terms and conditions set forth
15   Finance to receive the payments from EquityBuild,       15   herein. The lenders hereby authorize and direct
16   Inc., on the secured mortgage that we possessed and     16   the collateral agents to enter into the mortgage
17   the promissory note. And it was to remit payments       17   and the note for and on behalf of the lenders in
18   to each of the individual lenders.                      18   accordance with the terms hereof, exercise such
19       Q So EquityBuild Finance would receive the          19   rights and powers under this agreement, the note,
20   money from EquityBuild and then would pay you?          20   the mortgage as the case may be, as are
21       A That's correct.                                   21   specifically granted or delegated to the collateral
22       Q If someone were to act on your behalf in          22   agent by the terms hereof and thereof.
23   addition to receiving payments, something like          23           What do you understand that to mean?
24   issuing a notice or issuing a letter of payments,       24       A It means that their rights and powers
                                                   Page 30                                                       Page 32
 1   do you know who would do that on your behalf?       1        are to receive payments from EquityBuild and make
 2      A I'm not sure I understand the question.        2        those payments to the individual lenders.
 3      Q Sure. Poorly phrased.                          3            Q Okay.
 4          So this agreement as you mentioned gives 4                A Certainly they have other powers. If
 5   EquityBuild the power or the role, EquityBuild      5        there is a default, they can foreclose.
 6   Finance I should say, to receive payments on your 6                  You know, if you would scroll back up
 7   behalf and then they pass those payments along to 7          for a moment. If you look further in that
 8   you?                                                8        paragraph, it says, their duties are administrative
 9      A That is correct.                               9        and ministerial in nature.
10      Q Is it your understanding that                 10            Q Sure. The duties of the collateral
11   EquityBuild Finance had any other authority or any 11        agent and the servicer shall be deemed ministerial
12   other roles in this loan on your behalf?           12        and administrative in nature?
13      MR. HANAUER: Objection to the extent you are 13               A That's correct. They were in an
14   asking him for a legal conclusion about this       14        administrative role.
15   document.                                          15            Q Right. And you mentioned -- I am sorry,
16      MR. CONNOR: Certainly.                          16        backing up. You started to say that they do have
17      By Mr. Connor:                                  17        other powers and duties under this loan?
18      Q Mr. Young, you can answer.                    18            A Yes. I mean, you know, if EquityBuild
19      A In the last paragraph on page 4, it           19        doesn't pay the taxes, they can -- they are late on
20   says, the duties of the collateral agent and the   20        payment, they can charge late fees and that sort of
21   servicer shall be deemed ministerial and           21        thing. So they have, certainly they have other
22   administrative in nature.                          22        limited powers, but they are administrative in
23          So their responsibility was to receive      23        nature.
24   payments from EquityBuild, Inc., and disburse the 24             Q Understood. Speaking of those other
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                                                   Page 33                                                   Page 35
 1   powers, paragraph 9-A, or paragraph 9, authorizes        1   line, where it says, B, issue payment demands,
 2   the duties as loan servicer to the specific loan         2   beneficiary statements and mortgage ratings.
 3   services and functions.                                  3          Your best understanding, Mr. Young, of
 4           One of those says, in its capacity as            4   what that sentence means?
 5   the servicer, EBF shall issue payment coupons or         5       MR. HANAUER: Same objection.
 6   monthly statements to the borrower, directing loan       6       By Mr. Connor:
 7   repayments to the lender or servicer; B, issue           7       Q You can go ahead and answer, Mr. Young.
 8   payment demands, beneficiary statements and              8       A This was their administrative
 9   mortgage ratings; C, demand, receive and collect         9   responsibility. They were to receive interest
10   all loan payments; deposit them by the next             10   payments from EquityBuild, Inc. And they were to
11   business day into the trust account.                    11   forward them to the individual lenders.
12           With particular focus on Paragraph B,           12       Q Okay. Thank you, Mr. Young.
13   issue payment demands, beneficiary statements and       13       A If you would entertain me, let's go back
14   mortgage ratings.                                       14   to paragraph No. 6 on page 6.
15           What do you understand that to mean?            15       Q All right.
16        A Paragraph B?                                     16       A Instructions from lenders. Collateral
17        Q Excuse me. We are in paragraph 9-A, on           17   agent and the servicer shall act on written
18   the third line, subsentence B I guess that would        18   instructions received from the required lenders,
19   be.                                                     19   which is more than -- it's higher than that.
20        MS. WINE: I will just object that you didn't       20          This is starting in the first line.
21   read that correctly into the record.                    21   Collateral agent and servicer shall act on written
22        THE WITNESS: I don't follow you at all.            22   instructions received from the required lenders --
23        MR. CONNOR: I apologize. I will read it            23   and required lenders is defined by more than
24   again.                                                  24   50 percent of the capital that's made in the
                                                   Page 34                                                   Page 36
 1       MR. HANAUER: I will just lodge an objection          1   loan -- with respect to any action to be taken or
 2   that I think it's inappropriate to be asking a           2   not be taken in connection with this agreement,
 3   nonattorney, lay witness to interpret a legal            3   included without limitation, action to be taken in
 4   contract.                                                4   connection with insolvency proceedings; the
 5       MR. CONNOR: Understood.                              5   collateral agent shall act only on written
 6       By Mr. Connor:                                       6   instructions from all lenders with respect to the
 7       Q I will reread the paragraph. So we are             7   amendment or termination of the mortgage.
 8   in paragraph 9, duties as loan servicer,                 8       Q Okay. Thank you for that, Mr. Young.
 9   sub-paragraph A, specific loan services/functions.       9           I have just a few more questions. I am
10            And the first sentence reads, in its           10   going to stop sharing my screen.
11   capacity as the servicer, EBF shall issue payment       11       A So everything was administrative except
12   coupons or monthly statements to the borrower           12   that provision that said they would only act on
13   directing loan repayment to the lenders or the          13   written instructions from all lenders. Everything
14   servicer; B, issue payment demands, beneficiary         14   else was administrative.
15   statements and mortgage ratings; C, demand,             15       Q Understood. As I said, I have just a
16   receive, and collect all loan payments, deposit         16   few more questions.
17   them by the next business day into the servicer's       17           Did anyone ever discuss a rollover with
18   trust account and/or facilitate having them paid        18   you of your loans?
19   directly to the lender in each case within 25 days      19       A Dave Geldart had mentioned on several
20   of the due date.                                        20   occasions that they were going to refinance the
21            And the sentence continues on, but the         21   property and payoff the original lenders.
22   rest of this is not relevant to my question, so I       22       Q Okay.
23   will stop there.                                        23       A There were no details. And you know,
24            Directing your attention to the third          24   that had happened on the previous loans that I had
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                                                  Page 37                                                    Page 39
 1   with them, so we didn't go into any details. They       1                EXAMINATION
 2   had other properties that they had either sold or       2       By Mr. Hanauer:
 3   refinanced and I got my capital returned.               3       Q Again good morning, Mr. Young. My name
 4           It was my understanding of what was             4   is Ben Hanauer. I represent the Securities and
 5   going to happen this time.                              5   Exchange Commission.
 6           But I wasn't concerned because the              6       A Thank you very much for your efforts on
 7   mortgage was not going to be released unless I          7   our behalf.
 8   signed an agreement.                                    8       Q Mr. Young, did you ever authorize
 9       Q Did you ever receive notice from EBF              9   EquityBuild or EquityBuild Finance to release your
10   that someone wanted to payoff your loan?               10   mortgage or your father's mortgage?
11       A No.                                              11       A No.
12       Q Do you understand as you sit here that           12       Q Did you understand that EquityBuild or
13   EBF accepted a payment amount from someone to pay      13   EquityBuild Finance had the ability to release your
14   off the loan?                                          14   or your father's mortgage without your consent?
15       A My understanding that must have                  15       A No. From my understanding, the only way
16   happened, but I don't have any -- that's hearsay       16   they could release a mortgage was in writing.
17   as far as I know. I have never received any            17          I had a conversation actually one time
18   documentation. I never received an offer to have       18   with Shaun Cohen regarding the release of the
19   my capital returned.                                   19   mortgage. And this was probably, it would have
20       Q Okay. Finally, do you understand that            20   been, probably be like at the end of 2015. And his
21   after receiving the payment -- and I understand as     21   comment to me was, look, the only way these
22   you said that in your opinion it's hearsay -- have     22   mortgages can get released is if we would have to
23   you also heard or were you made to understand that     23   forge the signatures of every lender on the
24   after they received the payment, EBF released the      24   mortgage.
                                                  Page 38                                                    Page 40
 1   mortgage?                                               1            Because this was one of my concerns
 2       MR. HANAUER: Objection.                             2   quite frankly was, hey, I've got a secured
 3       MR. KURTZ: Objection, he already said --            3   interest, maybe they paid too much for the
 4       MR. HANAUER: Objection, assuming facts not in       4   property, I don't know, but at least we ought to
 5   evidence.                                               5   get most of our capital back because we have a
 6       MR. KURTZ: I would also object. You already         6   secured interest. What happens if our secured
 7   asked that question. He said he didn't know.            7   interest goes away.
 8       By Mr. Connor:                                      8            So I had a specific conversation with
 9       Q Mr. Young, if you could go ahead and              9   Shaun Cohen in December 2015 when I made one of the
10   answer that question, please.                          10   other loans.
11       A Could you ask the question again?                11            He said the only way we can do this is
12       MR. CONNOR: Yes. Ms. Court Reporter, would         12   if all the individual lenders sign a release. He
13   you please read the question back.                     13   said we can do them one at a time, like we did with
14          (The record was read.)                          14   my father, where he bought the property from
15       MR. HANAUER: Same objection. And I will add        15   somebody else.
16   a foundation objection.                                16            They released that one, that one -- they
17       By Mr. Connor:                                     17   transferred the one interest.
18       Q You can answer, Mr. Young.                       18            He said the only way we can release the
19       A I don't recall when I was notified that          19   entire mortgage is if every lender signs off to say
20   the mortgage was released. I don't recall.             20   they want to release it or somebody would have to
21       MR. CONNOR: Thank you. That's all for me.          21   forge the signatures of all the lenders. Because
22   Some of the other parties may have some questions      22   it does require all the lenders.
23   for you, Mr. Young.                                    23            And Shaun pointed me to this paragraph 6
24       MR. HANAUER: Can I start? Thank you.               24   on page 6, that all the lenders have to agree
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                                                 Page 41                                                       Page 43
 1   before the mortgage is released.                       1   stopped paying the loans.
 2       Q And sir, did the fact that you received          2           So it's been a severe hardship.
 3   a mortgage and that all the lenders would have to      3       MR. HANAUER: We are very sorry for your loss.
 4   agree to release it, was that important to your        4           Nothing further from the SEC at this
 5   decision to loan money to EquityBuild?                 5   time.
 6       A Yes.                                             6       THE WITNESS: When you think you have a
 7       Q Can you explain why?                             7   secured loan, where your principal is protected
 8       A It just provides that much more security         8   with an underlying lien on the property, you are
 9   that there couldn't be fraud committed by one or       9   comfortable committing more resources to it.
10   two of the lenders to release the mortgage for        10           And we as individual investors feel like
11   everyone.                                             11   we have been victimized twice. We were --
12           So it made me more confident in my            12   unfortunately we trusted the Cohens, which was a
13   individual position.                                  13   terrible mistake. But at least we had capital
14       Q And before the SEC filed this lawsuit,          14   because we had a first lien interest in all the
15   were you aware that your mortgage had been            15   property. But now that capital is being depleted
16   released?                                             16   by the institutional investors who keep bringing
17       A Yes, I was.                                     17   cases before the SEC, which requires the
18       Q When did you first learn that your              18   administrator to spend what few resources are left.
19   mortgage was released?                                19           You know, we have been victimized twice.
20       A You know, I don't recall the exact date.        20   We were victimized by the Cohens and now we are
21   But one of the other lenders called me and said       21   being victimized by the institutional lenders.
22   that the loan -- the 5201 Washington and 3074         22       MR. HANAUER: Thank you, sir.
23   Cheltenham, the mortgages had been released.          23           Nothing further from the SEC at this
24           It was a surprise to me. I have               24   time.
                                                 Page 42                                                       Page 44
 1   interest in both of those loans and they were both     1       MR. KURTZ: I don't have anything.
 2   released without my knowledge.                         2                 EXAMINATION
 3       Q Did you receive any payment in                   3       By Ms. Wine:
 4   connection with the release of your mortgage?          4       Q Mr. Young, if I can just clean a couple
 5       A No.                                              5   things up. My name is Jodi Wine and I represent
 6       Q Would you have allowed the mortgage to           6   Kevin Duff, who is a receiver in this action.
 7   be released without your permission?                   7       A Thank you for your efforts on our
 8       A No.                                              8   behalf.
 9       Q Would you have allowed your mortgage to          9       Q Thank you.
10   be released without your investment capital being     10           So you testified about a $45,000 loan
11   returned?                                             11   that the interest was purchased from Ms. Lezand
12       A No.                                             12   that was in the name of your father?
13       Q How much money did you and your family          13       A Yes.
14   collectively lose by investing in EquityBuild?        14       Q And that also $100,000 loan on the
15       A At this point our outstanding loan              15   Cheltenham property, that was made, I believe by
16   balance is around $800,000.                           16   your IRA; is that correct?
17       Q And how has that loss affected you and          17       A That's correct. Yes.
18   your family?                                          18       Q And did you also make a $100,000 loan in
19       A It's been -- it's severe. It's created          19   your individual capacity on the property at
20   severe hardship. That's a significant part of our     20   7750 South Muskegon?
21   net worth.                                            21       MR. CONNOR: I am sorry, Mr. Young, I think
22           You know, my father was -- you know, we       22   you cut out there.
23   had to scramble to pay some of his expenses and       23       THE WITNESS: I think the address is
24   long-term care facility after they stopped paying,    24   7752 South Muskegon.
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                                                  Page 45                                                     Page 47
 1        By Ms. Wine:                                       1               (Documents were marked as Young
 2        Q Okay. Thank you. And I am having a               2                Deposition Exhibit Nos. 5 and 6
 3   little trouble hearing you. I don't know if             3                for identification.)
 4   something has changed on your end.                      4       By Ms. Wine:
 5        A Not that I -- I had a notification pop           5       Q Mr. Young, are you able to see another
 6   up and maybe that --                                    6   document on the screen now?
 7        MR. STEIN: I believe it was when you looked        7       A Yes.
 8   away from the screen, Mr. Young, whatever it was,       8       Q Do you recognize this document?
 9   that you were reading from. The microphone              9       A Yes, I do.
10   shifted. We just need to be aware of that if you       10       Q What is this document?
11   look over to your left.                                11       A This is my -- since the investment was
12        THE WITNESS: Okay. So I made -- there is          12   an IRA, that iPlan Group was custodian for my IRA,
13   $100,000 loan on 7752 South Muskegon made by me        13   so they are the legal lender. Although I am the
14   personally.                                            14   beneficial lender, they are the legal lender.
15        By Ms. Wine:                                      15          So it is me authorizing them to transfer
16        Q And were you ever told that your                16   the proceeds from 7109 South Calumet into 3074 East
17   interest in that loan would be released?               17   Cheltenham Place.
18        A No.                                             18       Q Do you see under No. 2, where it says
19        Q Did you ever learn that that loan had           19   the $100,000 will be returned to the IRA and then
20   been refinanced?                                       20   reinvested in 3074 East Cheltenham?
21        A It was mentioned to me by David Geldart,        21       A Yes. For their accounting purposes,
22   who said that they were going to refinance the         22   they required that EquityBuild actually send the
23   property and that I would get my capital back.         23   money to them and then they turn around and send it
24             But I was never told the mortgage was        24   back to them.
                                                  Page 46                                                     Page 48
 1   released.                                               1            So it's actually -- it's not like a
 2       Q Did you ever get any of your capital              2   transfer, it's actually a replacement, where they
 3   back from that loan?                                    3   receive the proceeds from EquityBuild and turn
 4       A No.                                               4   around and send it back.
 5       Q If I can just show you a document. I              5        Q Is that what in fact happened in this
 6   don't know if I have screen sharing ability. It         6   case?
 7   looks like I do. If you can bear with me for one        7        A My understanding, yes.
 8   minute. I just need to pull up the document.            8        Q And from your answer, is it the case
 9           Mr. Young, are you able to see my               9   that when you invest as an individual, not through
10   screen?                                                10   the iPlan Group, did a rollover of your funds work
11       A Yes.                                             11   in a different way?
12       Q Do you recognize this document?                  12        A I don't recall if it was a transfer or
13       A That looks familiar. That was one of             13   if I actually received the proceeds and turned
14   the properties that they had made the loan and they    14   around and wired the money back. I don't recall.
15   were going to return my principal, so I rolled it      15            It would have happened in either one of
16   into Cheltenham.                                       16   those two cases, either it would have been just a
17       Q That's something that you agreed to do,          17   transfer or else I would have received the money by
18   to take your funds that you had lent on 7109 South     18   electronic fund transfer and then wired it back to
19   Calumet and reinvest them in 3074 East Cheltenham?     19   them. I don't recall.
20       A Yes.                                             20        Q Okay. How did you end up working
21       MS. WINE: Ms. Court Reporter, can I mark this      21   through iPlan Group for your IRA?
22   exhibit as I believe we are at Exhibit 5.              22        A Actually they were suggested to me by
23                                                          23   EquityBuild. You know, I made the comment that I
24                                                          24   would -- if I was going to invest, I would prefer
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                                                    Page 49                                                       Page 51
 1   to invest through an IRA with some of the assets          1   value of that property as $2.2 million?
 2   just because it would grow income tax free.               2       A Yes, it does.
 3          And they suggested that iPlan Group was            3       Q And going back to page 5, does this
 4   one of the custodians that they worked with and had       4   document indicate that the position of the note
 5   a good working relationship with them.                    5   would be in first position?
 6          So I contacted iPlan Group and                     6       A Yes.
 7   established IRAs with them.                               7       Q And was that important to you?
 8          And my thought process was, it would be            8       A Absolutely.
 9   easy and efficient to work with them since they had       9       Q Why was that important to you?
10   a good working relationship with EquityBuild and         10       A Because this was my retirement, money
11   EquityBuild Finance.                                     11   I'm saving for my retirement. And it was important
12       Q Did you ever have any problems with the            12   for me to have a senior secured position in the
13   iPlan Group?                                             13   loan so that my principal would be protected and
14       A Well, any time you work with a                     14   that it would -- the period of the loan was short
15   custodian, you have issues. So yes, I did have           15   in duration, only 18 months.
16   administrative issues with them.                         16           So it was important to me that it mature
17       Q Any administrative issues that were not            17   on January 1st of 2018.
18   resolved?                                                18           So I was attracted to this particular
19       A I think for the most part they were all            19   investment because I had a first position in the
20   resolved eventually.                                     20   loan, it was secured with real estate, and it was a
21       MS. WINE: I would like to mark a document as         21   short duration.
22   Exhibit No. 7.                                           22       Q And did the loan actually mature on
23                                                            23   January 1st of 2018?
24                                                            24       A No, it did not.
                                                    Page 50                                                       Page 52
 1                 (A document was marked as                   1       Q And did EquityBuild communicate with you
 2                  Young Deposition Exhibit                   2   about whether you would be paid off on January 1st,
 3                  No. 7 for identification.)                 3   2018?
 4       By Ms. Wine:                                          4       A No, they indicated that the terms would
 5       Q Mr. Young, can you see that document on             5   be extended. But again, I knew that it's property
 6   the screen?                                               6   that they had to make improvements on, so I wasn't
 7       A Yes I can. Yes, I can.                              7   overly concerned because I had a first -- I was in
 8       Q Do you recognize this document?                     8   first position on the mortgage. I had a secured
 9       A Stop there. Can you scroll it just a                9   position. It wouldn't be released without my
10   bit. That is my document, my account number.             10   signature. So I was not overly concerned when they
11       Q On page, this is No. 5 of this document,           11   said that it would be extended past January 1st,
12   does this relate to your investment in                   12   2018.
13   Cheltenham?                                              13                (A document was marked as Young
14       A Yes, it does.                                      14                 Deposition Exhibit No. 8 for
15       Q Pages 5 and 6. Page 6 indicates the                15                 identification.)
16   collateral, correct?                                     16       By Ms. Wine:
17       A Yes.                                               17       Q Mr. Young, I am now going to mark a
18       Q And does it also indicate that the note            18   document as Exhibit 8. This is a memorandum. Do
19   would be secured?                                        19   you see that on the screen?
20       A Yes.                                               20       A Yes, I do.
21       Q And it gives the address of the secured            21       Q If I can direct your attention to -- let
22   collateral as 3074 East Cheltenham Place?                22   me say this.
23       A Yes, it does.                                      23           The memorandum is to someone named Ran
24       Q It lists the approximate fair market               24   Barth. Do you know who that is?
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                                                    Page 53                                                      Page 55
 1      A No, I do not.                                        1   assignment of mortgage?
 2      Q Okay. And it's from EquityBuild                      2        A No.
 3   Finance, LLC, care of Shaun Cohen, regarding the          3        Q Mr. Young, did you receive any type of
 4   property at 7109-19 South Calumet.                        4   bonus for rolling your interest from Calumet to the
 5         Do you see that?                                    5   Cheltenham property?
 6      A Yes.                                                 6        A I don't recall. I can go back and look
 7      Q Directing your attention to the second               7   at my records to see. I know at times they did
 8   paragraph, which indicates that on or about May 20,       8   incentivize people to do that. But I don't recall
 9   2016, the iPlan Group agent for custodian for the         9   if I did on that particular property.
10   benefit of Mark Young IRA agreed to sell and B&H         10        MS. WINE: Let me mark another document as an
11   Creative Investments, as represented by Ran Barth,       11   exhibit. Let me mark as Exhibit 9 a document,
12   agreed to purchase the interest of iPlan Group for       12   appears to be an email from you to Tanna at
13   your benefit for the sum of $100,000.                    13   EquityBuild dated November 23, 2016.
14          Do you see that?                                  14                (A document was marked as Young
15      A Yes.                                                15                 Deposition Exhibit No. 9 for
16      Q Have you seen this document before?                 16                 identification.)
17      A I don't recall ever seeing that                     17        By Ms. Wine:
18   document.                                                18        Q Do you see that?
19      Q And did you understand that your                    19        A Yes.
20   investment in 7109 South Calumet was being               20        Q Do you recognize that as an email
21   purchased by another investor?                           21   address that you use?
22      A I did not.                                          22        A Yes.
23      Q Did you authorize such a purchase?                  23        Q Do you believe this is an email that you
24      A I do not recall authorizing such a                  24   sent to -- let me strike that.
                                                    Page 54                                                      Page 56
 1   purchase. I thought the property was -- the real     1                Who is Tanna?
 2   property was sold was my understanding.              2            A She was an accounting person at
 3       Q So the reason that you agreed to roll          3        EquityBuild. So if there were ever issues with
 4   your funds from 7109 -- let me just ask the          4        payments and so forth, I would usually communicate
 5   question.                                            5        with her.
 6            What was the reason you agreed to roll      6            Q Did you communicate with her with
 7   your funds from 7109 South Calumet to 3074 East 7             regularity?
 8   Cheltenham?                                          8            A Not -- you know, occasionally. Not
 9       A I thought that the property was                9        regularly. I would use the term occasionally
10   purchased, improved, sold, and the proceeds from 10           rather than regularly.
11   the sale was how my loan was going to be retired. 11                  But Dave Geldart was my account
12   I didn't realize that apparently my loan was just   12        representative. John Allred was another customer
13   sold from me to somebody -- to B&H Creative.        13        service person. And Tanna was in the accounting
14            So it would have been a transaction        14        department.
15   similar, although in reverse, what we did with my 15                  So I didn't communicate with her
16   father's when we invested in Cheltenham.            16        regularly. Not nearly as much as I did with Dave
17            I don't recall having seen this.           17        Geldart.
18       Q Did you ever sign any release of              18            Q Okay. Do you recall sending this
19   mortgage releasing your mortgage interest to --     19        email?
20       A I don't recall. I don't recall. I             20            A I don't recall this particular one, no.
21   remember signing the form to roll the proceeds into 21            Q Do you see in the first paragraph, you
22   another loan. I remember doing the paperwork with 22          state, that you assume the payment you received --
23   iPlan Group. I don't remember this form.            23        strike that.
24       Q Okay. Do you recall signing any type of       24                You see in the first paragraph you say,
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                                                    Page 57                                                       Page 59
 1   I'm not sure I follow you on the partial month            1            Do you see that?
 2   payment, though because I thought the extra payment       2       A Yes.
 3   amount was part of the bonus I earned when I rolled       3       Q Is that consistent with your
 4   from Calumet to South Shore/Cheltenham.                   4   recollection of your relationship with
 5       A Yes, I see that.                                    5   EquityBuild?
 6            Yeah, there may have been a bonus                6       A Yeah. They were -- once we had -- early
 7   involved. I don't recall to be honest.                    7   on, they were actually very good about getting
 8       Q Do you recall any reasons provided                  8   things done timely. After we committed to several
 9   for -- given you for providing you a bonus to roll        9   loans, that's when the problems started to come up.
10   your funds from one investment to another?               10            There was an issue where they were
11       A You know, at times if they had -- if               11   actually mailing checks, mailing interest checks to
12   timing was of the essence -- like if EquityBuild --      12   iPlan Group and iPlan wasn't getting them credited
13   again this is what they told us. Now I realize I         13   timely. So that was most of my issues with iPlan
14   can't believe anything they told me.                     14   Group.
15            But if they had a closing that was              15            But at this point they had developed the
16   coming up quickly, if it was urgent at times for         16   ability to do ACH transfers to iPlan Group. So
17   them to get payments, they would offer investors a       17   that's my comment about I hope ACH deposit to my
18   bonus to remit capital quickly so they could close       18   IRA solves one of the problems.
19   on properties.                                           19            At this point, unfortunately we had
20            So they would incentivize people extra          20   already committed to them, so we were kind of stuck
21   amounts to quickly fund the loans.                       21   at that point. So we had already made the
22            So this may have been one of those cases        22   commitment when the problems started showing up.
23   where they did because they would occasionally           23            Again, I wasn't terribly concerned
24   offer bonuses to incentivize people to act quickly.      24   because I knew there can be construction delays and
                                                    Page 58                                                       Page 60
 1   This may have been one of those times.                    1   so forth. I wasn't terribly concerned because I
 2       Q On how many occasions do you believe you            2   had a senior mortgage that was fully collateralized
 3   received a bonus from EquityBuild?                        3   with real estate. I wasn't terribly concerned
 4       A You know, maybe two or three times.                 4   about the timing as long as my loan was secure.
 5       Q What was the approximate size of these              5       Q Mr. Young, there was a reference in an
 6   bonuses?                                                  6   internal email at EquityBuild stating that you had
 7       A Usually it was like a 1 percent bonus.              7   asked about the status of the Muskegon loan and
 8   So on a $100,000 loan, it would be an extra $1,000,       8   said that you were concerned the same thing that
 9   for example.                                              9   happened with Washington will happen with that
10           Again, I don't recall this particular            10   loan.
11   transaction. That was one of the examples I              11           I am not asking if that email was sent.
12   recall.                                                  12   I am only asking if you know what they might have
13       Q Other than your father, did you                    13   been referring to about the same thing that
14   recommend EquityBuild to any other investors?            14   happened with Washington?
15       A No.                                                15       A 5201 Washington was a loan that we had
16       Q Were you ever offered any type of                  16   that they had told us that they sold the property,
17   commission or finder's fee for doing so?                 17   but the proceeds were less than what the loan
18       A No.                                                18   balance was. So they asked us to exchange our
19       Q You also state in Exhibit 9 that the               19   secured note for an unsecured note or else we were
20   administrative part of this business is                  20   going to have to take a haircut on the proceeds of
21   frustrating. My payments don't come timely, tax          21   the sale. So we basically had no choice on 5201
22   forms are late, and my loans are rarely retired on       22   Washington.
23   time. I don't recall the last time that a loan was       23           So at that point I thought it better to
24   actually paid off when it was due.                       24   take an unsecured interest in the full amount of
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                                                    Page 61                                                   Page 63
 1   the loan rather than take a reduced payment.              1       THE WITNESS: If I can take just a few minutes
 2           And again, we really didn't have any              2   and make a couple of phone calls.
 3   choice. I didn't feel we had any choice.                  3       MR. STEIN: Of course. Just to be clear, I
 4           So I had a $50,000 loan that they paid            4   probably have no more than five minutes. But I am
 5   the principal down, 3 or $4,000, before they              5   a lawyer estimating time and we are horrible at
 6   stopped making payments on it all together.               6   that.
 7       Q When they offered you this choice, did              7       THE WITNESS: Believe me, I know what the
 8   they offer to pay a percentage of the principal           8   receiver had to spend in terms of time trying to
 9   back and give you an unsecured note for the               9   get this thing resolved.
10   remainder?                                               10           If I can mute my line for maybe two
11       A You know, I believe so, but quite                  11   minutes, I will make a quick phone call.
12   honestly, I don't recall if they offered us to take      12       MR. STEIN: Sure.
13   a reduced amount or if they -- I think that's what       13             (A recess was had.)
14   the offer was, but I don't recall for sure.              14       MS. WINE: Before we start, can I ask two more
15       Q Did you in fact get an unsecured note              15   questions.
16   for that investment, for that loan?                      16       By Ms. Wine:
17       A Yes.                                               17       Q Mr. Young, other than lending money to
18       Q Do you recall the amount of the                    18   EquityBuild, did you engage in any other business
19   unsecured note?                                          19   with EquityBuild?
20       A $50,000.                                           20       A No.
21       Q So it was the entire amount?                       21       Q With either Shaun or Jerry Cohen?
22       A It was the entire amount of the loan               22       A No, not individually. No. I didn't
23   that I made on 5201 Washington.                          23   engage in any other business with them.
24           Again, it was my understanding that they         24       Q Did you have any business relationship
                                                    Page 62                                                   Page 64
 1   sold it, and they sold it for less than --                1   with any of the employees of EquityBuild?
 2   something less than full amount.                          2       A No.
 3            Again, I don't recall the mechanics. I           3       Q Did you provide any services at all to
 4   think we were offered -- you know, actually, you          4   any EquityBuild entity or affiliate or employee?
 5   know, I don't remember if we were offered a reduced       5       A No.
 6   payoff amount or not. I don't think we were.              6       MS. WINE: Thank you. I have nothing further.
 7            I mean, at that point, frankly I don't           7                  EXAMINATION
 8   think EquityBuild had any cash. So I don't think          8       By Mr. Stein:
 9   they could have done it at that point.                    9       Q Mr. Young, good morning. As I mentioned
10            I apologize. This actually has gone             10   earlier, my name is Max Stein. I am one of the
11   quite a bit longer. I thought we were only talking       11   attorneys representing some of the investor lenders
12   about 3074 Cheltenham. I had another appointment         12   on these properties. I have just a few questions
13   scheduled for 11:30 Central. Can I -- if this is         13   for you.
14   going to continue, can I take a recess so I can          14           Mr. Young, you have talked about how you
15   make a phone call and tell these people I am going       15   had an understanding that you had a first mortgage,
16   to be late?                                              16   first position -- pardon me. Let me start over.
17       MS. WINE: Absolutely. I think I am done, but         17           You talked this morning about how you
18   I think Mr. Stein might have wanted to ask some          18   had an understanding that you had a first lien
19   questions.                                               19   position on the Cheltenham property and that that
20            So can we take a break?                         20   meant that you were in a higher priority than
21       MR. STEIN: I have just a few questions.              21   others. I just want to make sure I understood what
22   Mr. Young, if you need to call somebody to let them      22   you meant by that.
23   know you are going to be a few minutes late, that's      23       A Well, there --
24   totally fine.                                            24       Q Go ahead.
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                                                 Page 65                                                 Page 67
 1       A I am sorry, did I speak over someone?          1        MR. HANAUER: Kevin, are you going to
 2       Q No. Go ahead.                                  2   admonish the witness about reserving
 3       A Okay. Well, when the EquityBuild bought        3   signature?
 4   the property, there was no mortgage on it and we -- 4         MR. CONNOR: Yes.
 5   and our mortgage was recording.                      5            So Mr. Young, at this point you can
 6           So yes, we thought -- and it couldn't be     6   either reserve or waive signature. What that means
 7   released without our signature.                      7   is if you like to reserve, you can have a chance to
 8           So yeah, we were in a first position and     8   review the transcript to make sure that it says
 9   we were senior secured, and secured by the real      9   everything that you said. You can't go back and
10   estate.                                             10   change your testimony, but you can review it and
11       Q And when you say "we," to whom are you 11          say, this does not accurately reflect what I said,
12   referring?                                          12   anything like that. Or you can waive, which means
13       A Me and the other individual lenders.          13   what it sounds like, just waive and be done with
14       Q So that would be all of the people            14   it. It's up to you.
15   listed on -- we looked at the mortgage, the exhibit 15        THE WITNESS: Yes, I would like to review the
16   to the mortgage; is that right?                     16   transcript.
17       A Yes.                                          17        MR. CONNOR: Okay. So you are reserving?
18       Q And similarly, like your father               18        THE WITNESS: I would like to review the
19   purchased somebody else's interest, anybody who 19       transcript.
20   purchased an interest from one of the people listed 20        MR. CONNOR: We just call that reserving
21   on that exhibit; is that right?                     21   signature.
22       A Yes.                                          22        THE WITNESS: I understand. I didn't
23       Q And as amongst the people listed on           23   understand how the legal term was used. I would
24   those exhibits, what was your understanding as to 24     like to review the transcript.
                                                 Page 66                                                 Page 68
 1   whether they had the same priority or different    1     MR. CONNOR: Certainly. Thank you,
 2   priorities amongst themselves?                     2 Mr. Young. We do appreciate your time. And you
 3       A I assumed everybody was in the same          3 will have an opportunity to review the
 4   position. We were all listed on the exhibit and    4 transcript.
 5   the exhibit was recorded. So I assume we were all 5      THE WITNESS: Thank you.
 6   in the same position, unless there was a private   6     MR. CONNOR: Thank you.
 7   exchange, and then the new lender stepped into the 7
 8   shoes of the old lender.                           8             DEPOSITION CONCLUDED
 9       Q Okay. Thank you very much. I have no         9
10   further questions?                                10
11       A I guess just to expand on that. So I        11
12   didn't -- it was my understanding, like in my     12
13   father's position, they wouldn't have to rerecord 13
14   the mortgage because he just stepped into the     14
15   position for the Lezand or whatever, however that 15
16   name is pronounced.                               16
17            And in the books and records, he just    17
18   stepped into their position and so the mortgage   18
19   didn't have to be rerecorded in that case.        19
20       Q Thank you.                                  20
21       A You are welcome.                            21
22       MR. STEIN: Nothing further from me.           22
23           Then I think we are complete. Thank you, 23
24   Mr. Young. And thank you everybody.               24
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                                                         Page 69                                                    Page 71
 1         IN THE UNITED STATES DISTRICT COURT                      1   counsel.
              NORTHERN DISTRICT OF ILLINOIS
 2                EASTERN DIVISION                                  2         I further certify that I am not counsel
 3   SEC,                     )                                     3   for nor in any way related to any of the parties to
                          )
 4              Plaintiff, )                                        4   this suit, nor am I in any way interested in the
                          )                                         5   outcome thereof.
 5       vs.                )No. 18-cv-5587
                          )                                         6         In testimony whereof, I have hereunto set
 6   EQUITYBUILD, INC., et al., )                                   7   my hand and seal this 4th day of November, 2021.
                          )
 7              Defendants. )                                       8
 8          I, MARK YOUNG, being first virtually duly               9
 9   sworn, on oath, say that I am the deponent in the
10   aforesaid deposition, and that I have read the
                                                                   10
11   foregoing transcript of my deposition, consisting             11              ______________________________
12   of pages 1 through 71, inclusive, taken on
13   October 26, 2021, at the aforesaid place and that
                                                                   12              Notary Public
14   the foregoing is a true and correct transcript of             13              DuPage County, Illinois
15   my testimony so given.                                        14              CSR No. 084-002016
16
               _____ corrections were made                         15
17                                                                 16
               _____ no corrections were made
18                                                                 17
19              ________________________________                   18
                  MARK YOUNG
20                                                                 19
   SUBSCRIBED AND SWORN TO                                         20
21 before me this ______ day
   of _____ , 2021.
                                                                   21
22                                                                 22
23 _________________________
   Notary Public
                                                                   23
24                                                                 24
                                                         Page 70
 1 STATE OF ILLINOIS )
                  )SS:
 2 COUNTY OF DU PAGE )
 3
 4        I, PEGGY CURRAN, CSR, CRR, License
 5 No. 084-002016, notary public within and for the
 6 County of DuPage and State of Illinois, do hereby
 7 certify that heretofore, to wit, on the 26th day of
 8 October, 2021, MARK YOUNG personally appeared
 9 before me as a witness in a cause now pending and
10 undetermined in the United States District Court,
11 Northern District of Illinois, Eastern Division,
12 wherein SEC is plaintiff and EquityBuild, Inc.,
13 et al., are defendants, No. 18-cv-5587.
14        I further certify that the said MARK YOUNG
15 was by me first duly sworn to testify to the truth,
16 the whole truth and nothing but the truth in the
17 cause aforesaid before the taking of his
18 deposition; that the testimony given was
19 stenographically recorded in the presence of said
20 witness by me, and afterwards transcribed upon a
21 computer, and that the foregoing is a true and
22 correct transcript of said testimony.
23        I further certify that there were present
24 at the taking of the deposition the aforementioned
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